                                           Case 3:22-cv-04476-SI Document 154 Filed 12/05/23 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     GAMEFAM, INC.,                                   Case No. 23-mc-80310-SI
                                   8                    Plaintiffs,
                                                                                          ORDER SETTING BRIEFING
                                   9             v.                                       SCHEDULE
                                  10     WOWWEE GROUP LIMITED, et al.,                    Re: Dkt. No. 1
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          Before the Court is Gamefam, Inc.’s motion for reimbursement of significant expenses
                                  14   incurred in responding to a July 14, 2023 subpoena issued in Case No. 3:22-cv-04476-SI. Dkt. No.
                                  15   1. The Court issues the order set forth below to set a briefing schedule for this motion. The Court
                                  16   will schedule a hearing on the motion if deemed necessary after receiving the complete briefing.
                                  17

                                  18          WowWee’s response to Gamefam’s motion due by January 12, 2024.
                                  19          Gamefam’s reply due by January 26, 2024.
                                  20

                                  21          IT IS SO ORDERED.
                                  22   Dated: December 5, 2023
                                  23                                                  ______________________________________
                                  24                                                  SUSAN ILLSTON
                                                                                      United States District Judge
                                  25

                                  26
                                  27

                                  28
